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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                       )       CHAPTER 11
                                             )
ATLANTA LIGHT BULBS, INC.,                   )       CASE NO.: 22-52950-PMB
                                             )
         Debtor.                             )

         APPLICATION FOR ORDER AUTHORIZING AND APPROVING
EMPLOYMENT OF BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ,
   P.C. AS CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF ATLANTA LIGHT BULBS, INC. NUNC PRO TUNC TO JUNE 10, 2022

         The Official Committee of Unsecured Creditors (the “Committee”), appointed by the

United States Trustee on June 8, 2022, as subsequently amended, in the above-captioned

bankruptcy case, hereby submits this application (the “Application”) for authority to retain and

employ Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C. (“Baker Donelson”) as co-

counsel for the Committee nunc pro tunc to June 10, 2022 pursuant to sections 328(a) and 1103

of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). In support hereof, the Committee

submits concurrently herewith the Declaration of Kathleen G. Furr (the “Furr Declaration”),

which is attached as Exhibit A hereto, and respectfully represents as follows:

                                       BACKGROUND

         1.    On April 15, 2022 (the “Petition Date”), Halco Lighting Technologies, LLC,

Norcross Electric Supply Company, and Candela Corporation (the “Petitioning Creditors”) (the

“Debtor”) filed an involuntary petition for relief under chapter 11 of the Bankruptcy Code

against Atlanta Light Bulbs, Inc. (the “Debtor”) in the United States Bankruptcy Court for the

Northern District of Georgia (the “Court”). The Debtor continues to operate its business and
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manage its property as debtor-in-possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code, though it has not yet chosen to participate in this case.

       2.      On June 8, 2022, the Office of the United States Trustee appointed the

Committee as an official committee to represent the interests of unsecured creditors of the

Debtors pursuant to section 1102 of the Bankruptcy Code [Docket No. 36, 38, and 41].

       3.      The Committee is comprised of the following entities:

              Member                                     Primary Representative
              Halco Lighting Technologies                Chris Chickanosky (Chair)
              Candela Corporation                        James Baas
              Norcross    Electric   Supply              Jim C. Joedecke, Jr.
              Company

       4.      On June 10, 2022, the Committee selected Tucker Ellis LLP as lead counsel and

Baker Donelson as Georgia counsel.

                                JURISDICTION AND VENUE

       5.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

Application constitutes a core proceeding pursuant to 28 U.S.C. § 157.

       6.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                    RELIEF REQUESTED

       7.      By this Application, the Committee respectfully requests that this Court enter an

order authorizing it to employ Baker Donelson as co-counsel to the Committee, pursuant to

sections 328(a) and 1103 of the Bankruptcy Code and Bankruptcy Rule 2014, nunc pro tunc to

June 10, 2022. A proposed form of order is attached hereto as Exhibit “B”.

                        BAKER DONELSON’S QUALIFICATIONS

       8.      Baker Donelson has extensive experience and knowledge in the fields of

corporate reorganization and bankruptcy law and is particularly well qualified for the type of



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representation that is required by the Committee. Baker Donelson has substantial experience in

a number of areas of the law that may generate issues in these cases, and its attorneys have

represented unsecured creditors’ committees across the United States. Accordingly, Baker

Donelson possesses the requisite expertise and background to handle matters that are likely to

arise in this case.

                                   SERVICES PROVIDED

        9.      The Committee believes that the services of Baker Donelson are necessary to

enable the Committee to execute its duties. The Committee contemplates that Baker Donelson

will provide the full range of services required to represent the Committee in the course of this

chapter 11 case including:

                (a)   advising the Committee on all legal issues as they arise;

                (b)   representing and advising the Committee regarding the terms of any sales

                      of assets or plans of reorganization or liquidation, and assisting the

                      Committee in negotiations with the Debtor and other parties;

                (c)   investigating the Debtor’s assets and pre-bankruptcy conduct, as well as

                      the pre-bankruptcy conduct of the Debtor’s officers, directors and holders

                      of equity interests;

                (d)   analyzing the liens, claims and security interests of any of the Debtor’s

                      secured creditors, and where appropriate, raising challenges on behalf of

                      the Committee;

                (e)   preparing, on behalf of the Committee, all necessary pleadings, reports,

                      and other papers;

                (f)   representing and advising the Committee in all proceedings in these cases;




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                  (g)      assisting and advising the Committee in its administration; and

                  (h)      providing such other services as are customarily provided by counsel to a

                           creditors’ committee in cases of this kind.

                                       TERMS OF EMPLOYMENT

         10.      The Committee desires to employ Baker Donelson as its co-counsel under the

terms and conditions of the engagement letter attached as Exhibit "A" to the Furr Declaration.

The Committee requests that all legal fees and related costs incurred by the Committee on

account of services rendered by Baker Donelson in this case be paid as administrative expenses

of the Debtor’s estate in accordance with the Bankruptcy Code and applicable orders entered in

these cases. Subject to the Court’s approval, Baker Donelson will charge for its legal services

on an hourly basis, billed in tenth-of-an-hour increments, in accordance with its hourly rates in

effect on the date that such services were rendered. Baker Donelson’s current billing rates for

attorneys range from $360 per hour for bankruptcy associates to $735.00 per hour for senior

bankruptcy shareholders; however, Kathleen G. Furr’s current hourly billing rate is $545 per

hour. Time devoted by paraprofessionals currently ranges from approximately $160.00 to

$270.00 per hour. These hourly rates are typically subject to periodic adjustments to reflect

economic and other conditions.1

         11.      The names, position, and hourly rates through January 31, 2022 for the Baker

Donelson professionals expected to be primarily responsible for providing services to the

Committee as co-counsel include: Kathleen G. Furr– Shareholder ($545/hour), Tim Colletti –

Associate ($370/hour), and Locke Waldrop – Associate ($360/hour). In addition, from time to


1
          The rates charged by each Baker Donelson professional differ based on, among other things, the
geographic location of the office in which such professional is resident, such professional’s level of experience, and
the rates normally charged by similar professionals.



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time, it may be necessary for other Baker Donelson professionals to provide services to the

Committee.

       12.     Baker Donelson intends to charge for identifiable, non-overhead expenses

incurred in connection with the case, which would not have been incurred except for

representation of the Committee, in accordance with the guidelines of the United States Trustee.

Baker Donelson will charge only the amount actually incurred by Baker Donelson in connection

with such items. Examples of such expenses are postage, overnight mail, courier delivery,

photocopying, travel expenses, and meals and lodging. Baker Donelson will maintain detailed

records of any actual and necessary costs incurred in connection with the aforementioned legal

services.

       13.     Baker Donelson intends to apply to the Court for allowance of such

compensation and reimbursement of expenses in accordance with the applicable provisions of

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and applicable orders of this

Court, and the guidelines, practices, and customs of the United States Trustee. Baker Donelson

has advised the Committee that Baker Donelson may seek interim compensation during these

cases as permitted by applicable sections of the Bankruptcy Code including sections 330 and

331, the applicable Local Rules and applicable orders of this Court.

                          COMPLIANCE WITH LOCAL RULES

       14.     The Committee is requesting that this Application be approved retroactively to

June 10, 2022, the date that Baker Donelson was selected as counsel to the Committee. This

Application is filed within two (2) business days from the commencement of employment and is

supported by a verified statement of disinterestedness and connections of Baker Donelson as set

forth therein. Further, courts have held that retroactive approval of a professional may be




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granted by the bankruptcy court if timely requested and justified by the circumstances of the

case See, e.g., City of Rockford v. Mallinckrodt (In re Mallinckrodt), 2022 WL 906451 (D. Del.

Mar. 28, 2022); In re Schupbach Investments, LLC, 521 B.R. 449 (B.A.P. 10th Cir. 2014);

Matter of Singson, 41 F.3d 316, 319 (7th Cir. 1994). Given the timeliness of the filing of this

Application and the need to commence services immediately on behalf of the Committee,

retroactive approval of the Application is appropriate under the circumstances.

       15.     Baker Donelson has submitted this Application to the U.S. Trustee. The parties

appearing on the Proof of Service relating to this Application have also received notice. Baker

Donelson submits that, in light of the nature of the relief requested, no other or further notice is

necessary or required. A copy of the engagement agreement is attached as Exhibit “A” to the

Furr Declaration.

                      BAKER DONELSON’S DISINTERESTEDNESS

       16.     Baker Donelson is in the process of completing a formal conflicts search for (a)

each known creditor; (b) the Debtor and its equity holders; (c) all professionals employed in the

chapter 11 cases; (d) the Debtor’s secured lender, and (e) all persons employed in the Office of

the United States Trustee (Region 21).

       17.     Except as set forth in the Furr Declaration, to the best of Baker Donelson’s

knowledge, information, and belief, Baker Donelson has had no connection, except as disclosed

herein, with the Debtor, its creditors, the United States Trustee, any employee of the Office of

the United States Trustee, the Bankruptcy Judge presiding in this case, or any party in interest,

except that Baker Donelson may have appeared from time to time in the past, and may appear in

the future, in other cases or matters in which one or more of such parties may have been or may

be involved.




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       WHEREFORE, the Committee respectfully requests the entry of an order

(a) authorizing and approving the employment of Baker Donelson as co-counsel to the

Committee nunc pro tunc to June 10, 2022; and (b) granting such other and further relief as the

Court deems appropriate.


Dated: June 13, 2022                        Respectfully submitted,

                                            THE    OFFICIAL   COMMITTEE OF
                                            UNSECURED CREDITORS OF ATLANTA
                                            LIGHT BULBS, INC.

                                                   /s/Chris Chickanosky
                                            Chris Chickanosky – Committee Chairperson

Submitted by:

                                            By: /s/Kathleen G. Furr
                                            Kathleen G. Furr (GA Bar No. 589008)
                                            BAKER DONELSON BEARMAN CALDWELL
                                            & BERKOWITZ, PC
                                            3414 Peachtree Road, N.E.
                                            Atlanta, Georgia 30326
                                            (404) 577-6000 (Telephone)
                                            (404) 221-6501 (Facsimile)
                                            kfurr@bakerdonelson.com

                                            [Proposed] Co-Counsel for the Official Committee
                                            of Unsecured Creditors of Atlanta Light Bulbs, Inc.




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                                CERTIFICATE OF SERVICE

       This is to certify that on June 13, 2022, I electronically filed the foregoing Application for

Order Authorizing and Approving Employment of Baker, Donelson, Bearman, Caldwell &

Berkowitz, P.C. as Co-Counsel for the Official Committee of Unsecured Creditors of Atlanta

Light Bulbs, Inc., Nunc Pro Tunc to June 10, 2022 with the Clerk of Court using the CM/ECF

system, which automatically sent e-mail notifications of such filing to the below listed attorneys

of record:

      Thomas Dworschak                                  Ronald A. Levine
      Office of the U. S. Trustee                       Levine & Block, LLC
      Room 362                                          P.O. Box 422148
      75 Ted Turner Drive, SW                           Atlanta, GA 30342
      Atlanta, GA 30303                                 rlevine@levineblock.com
      thomas.w.dworschak@usdoj.gov

      Scott B. McMahan                                  Leslie M. Pineyro
      Poole Huffman, LLC                                Jones and Walden, LLC
      Building J, Suite 200                             699 Piedmont Avenue NE
      3562 Habersham at Northlake                       Atlanta, GA 30308
      Tucker, GA 30084                                  lpineyro@joneswalden.com
      ecf@poolehuffman.com

      Todd J Poole                                      Michael D. Robl
      3562 Habersham at Northlake                       Robl Law Group LLC
      Building J, Ste 200                               Suite 250
      Tucker, GA 30084                                  3754 LaVista Road
      todd@poolehuffman.com                             Tucker, GA 30084
                                                        michael@roblgroup.com

      Todd H. Surden                                    Kristen A. Yadlosky
      Hartman Simons & Wood                             Hartman Simons & Wood
      400 Interstate North Parkway SE                   400 Interstate North Parkway SE
      Suite 600                                         Suite 600
      Atlanta, GA 30339                                 Atlanta, GA 30339
      todd.surden@hartmansimons.com                     kristen.yadlosky@hartmansimons.com




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and that I also served the below parties via USPS with proper postage affixed:

      Atlanta Light Bulbs, Inc.                        American Express Travel Related Services
      2109 Mountain Industrial Blvd                    Co., Inc.
      Tucker, GA 30084                                 c/o Zwicker and Associates, P.C.
                                                       Attorneys/Agents for Creditor
                                                       P.O. Box 9043
                                                       Andover, MA 01810-1041

      Bryan Kaplan                                     CBC Lighting Inc.
      6065 Roswell Road, Suite 540                     Kaplan Legal Services, LLC
      Atlanta, GA 30328                                6065 Roswell Road, Suite 540
                                                       Atlanta, GA 30328

      Fanlight Corporation, Inc.                       Ford Motor Credit Company, LLC
      c/o Simpson, Uchitel & Wilson, LLP               Drawer 55-953
      P.O. Box 550105                                  P.O. Box 55000
      Atlanta, GA 30355-2505                           Detroit, MI 48255-0953

      Hatch Transformers, Inc., d/b/a Hatch            Worldwide Specialty Lamp, LLC
      Lighting                                         c/o Bryan Kaplan, Esq.
      c/o Simpson, Uchitel & Wilson, LLP               6065 Roswell Road, Suite 540
      P.O BOX 550105                                   Atlanta, GA 30328
      Atlanta, GA 303055-2505




                                              By: /s/Kathleen G. Furr
                                              Kathleen G. Furr (GA Bar No. 589008)

                                              [Proposed] Co-Counsel for the Official Committee
                                              of Unsecured Creditors of Atlanta Light Bulbs, Inc.




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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        )       CHAPTER 11
                                              )
ATLANTA LIGHT BULBS, INC.,                    )       CASE NO.: 22-52950-PMB
                                              )
         Debtor.                              )

                        DECLARATION OF KATHLEEN G. FURR

         I, KATHLEEN G. FURR, hereby state and declare as follows:

         1.    I am over 21 years of age. I am a shareholder in the law firm of Baker, Donelson,

Bearman, Caldwell & Berkowitz, P.C. (“Baker Donelson”), which has offices at, among others,

3414 Peachtree Road, N.E., Suite 1500, Atlanta, Georgia 30326. I am a member in good standing

of the Bar of the State of Georgia and am admitted to practice before the United States Court of

Appeals for the Eleventh Circuit and the United States District Courts for the Northern, Middle,

and Southern Districts of Georgia. There are no disciplinary proceedings pending against me.

         1.    I am in all respects competent to make this declaration in support of the Application

for Order Authorizing and Approving Employment of Baker, Donelson, Bearman, Caldwell &

Berkowitz, P.C. as Co-Counsel for the Official Committee of Unsecured Creditors of Atlanta Light

Bulbs, Inc., Nunc Pro Tunc to June 10, 2022 (the “Application”) of the Official Committee of

Unsecured Creditors (the “Committee”) to retain and employ as its co-counsel in the above-

captioned chapter 11 case pursuant to sections 328(a) and 1103 of the United States Code (the

“Bankruptcy Code”) and Rule 2014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), nunc pro tunc to June 10, 2022.

         2.    In connection with these cases, the Committee has requested authority to retain and

employ Baker Donelson as the Committee’s co-counsel. The Committee seeks to retain Baker



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Donelson, subject to the oversight and orders of the Court, to advise the Committee with respect

to certain matters, including, in part, the following:

                   (a) advising the Committee on all legal issues as they arise;

                   (b) representing and advising the Committee regarding the terms of any sales

                       of assets or plans of reorganization or liquidation, and assisting the

                       Committee in negotiations with the Debtors and other parties;

                   (c) investigating the Debtor’s assets and pre-bankruptcy conduct;

                   (d) analyzing the liens, claims and security interests of any of the Debtors’

                       secured creditors, and where appropriate, raising challenges on behalf of

                       the Committee;

                   (e) preparing, on behalf of the Committee, all necessary pleadings, reports, and

                       other papers;

                   (f) representing and advising the Committee in all proceedings in this case;

                   (g) assisting and advising the Committee in its administration; and

                   (h) providing such other services as are customarily provided by counsel to a

                       creditors’ committee in cases of this kind.

       3.      Baker Donelson is qualified to serve as co-counsel for the Committee. Prior to

private practice, I clerked for the then Chief Judge J. Craig Whitley for the United States

Bankruptcy Court for the Western District of North Carolina for two (2) years. Thereafter, I

clerked for Judge Wendy L. Hagenau for one (1) year with United States Bankruptcy Court for

the Northern District of Georgia. After my clerkships concluded, I joined Baker Donelson and

have practice bankruptcy and work outs for more than eleven (11) years.




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         4.       Baker Donelson requests that all legal fees and related costs incurred by the

Committee on account of services rendered by Baker Donelson in this case be paid as

administrative expenses of the Debtor’s estate in accordance with the Bankruptcy Code and

applicable orders entered in this case.

         5.       Baker Donelson will charge for its legal services on an hourly basis, billed in tenth-

of-an-hour increments, in accordance with its hourly rates in effect on the date that such services

are rendered. Baker Donelson’s current billing rates for attorneys range from $360 per hour for

bankruptcy associates to $735.00 per hour for senior bankruptcy shareholders; however, my

billing rate is currently set at $545 per hour. Time devoted by paraprofessionals currently ranges

from approximately $160.00 to $270.00 per hour. These hourly rates are typically subject to

periodic adjustments to reflect economic and other conditions.1

         6.       The names, position, and hourly rates through January 31, 2022 for the Baker

Donelson professionals expected to be primarily responsible for providing services to the

Committee as co-counsel include: Kathleen G. Furr– Shareholder ($545/hour), Tim Colletti –

Associate ($370/hour), and Locke Waldrop – Associate ($360/hour). In addition, from time to

time, it may be necessary for other Baker Donelson professionals to provide services to the

Committee.

         7.       Baker Donelson will charge for identifiable, non-overhead expenses incurred in

connection with the chapter 11 case, which would not have been incurred except for representation

of the Committee, in accordance with the guidelines of the United States Trustee. Baker Donelson

charges only the amount actually incurred by Baker Donelson in connection with such items.



1
         The rates charged by each Baker Donelson professional differ based on, among other things, the geographic
location of the office in which such professional is resident, such professional’s level of experience, and the rates
normally charged by similar professionals.

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 Examples of such expenses are postage, overnight mail, courier delivery, photocopying, meals,

 travel expenses, and lodging. Baker Donelson will maintain detailed records of any actual and

 necessary costs incurred in connection with the aforementioned legal services.

         8.      Baker Donelson intends to apply to the Court for allowance of such compensation

 and reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, the Local Rules and applicable orders of this Court, and the

 guidelines, practices, and customs of the United States Trustee. Baker Donelson has advised the

 Committee that Baker Donelson may seek interim compensation during these cases as permitted

 by applicable sections of the Bankruptcy Code including sections 330 and 331, the applicable

 Local Rules and applicable orders of this Court, including the Court’s interim compensation

 procedures order which permits Committee professionals to file monthly interim fee statements.

         9.      Baker Donelson is in the process of completing a formal conflicts search for (a)

 each known creditor; (b) the Debtor and its equity holders; (c) all professionals employed in the

 chapter 11 cases; (d) the Debtor’s secured lender, and (e) all persons employed in the Office of

 the United States Trustee (Region 21).

         10.     To the best of my knowledge, information, and belief, Baker Donelson has had no

connection, except as disclosed herein, with the Debtor, its creditors, the United States Trustee, any

employee of the Office of the United States Trustee, the Bankruptcy Judge presiding in this case, or

any party in interest, except that Baker Donelson may have appeared from time to time in the past,

and may appear in the future, in other cases or matters in which one or more of such parties may

have been or may be involved.

         11.     Neither I, nor Baker Donelson, nor any shareholder or associate thereof, insofar as

 I have been able to ascertain (a) hold or represent any interest adverse to the Committee or the



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estate; (b) represent a creditor of the same class as any member of the Committee in connection

with this case, or (c) represent any other entity in connection with this case having an interest

adverse to the Committee with the following exception: I represented the three petitioning

creditors as Georgia counsel in this matter for the purpose of filing the involuntary bankruptcy

petition against the Debtor. There is no statutory prohibition against representing creditors and

the Committee in a bankruptcy case. However, any individual representation of the three

petitioning creditors has ended with the formation of a Committee. Further, insofar as I have been

able to ascertain, other than in connection with its representation of the Committee in this case,

Baker Donelson has no connection (connection being defined as a biological or contractual

relationship) with the Debtor, its creditors, or other parties in interest or their respective attorneys

or accountants, the United States Trustee or any person employed in the office of the United States

Trustee.

        12.     Baker Donelson makes the following general and specific disclosures:

                       Baker Donelson attorneys may have represented creditors in this case at
                        previous firms in matters wholly unrelated to the chapter 11 cases.
                        However, given the lack of information from the Debtor, any extent of this
                        is currently unknown. Baker Donelson will continue to perform conflicts
                        checks as the case continues.

                       As noted above, I represented the three petitioning creditors solely to file
                        this case as an involuntary bankruptcy case. That representation has ceased
                        since the formation of the Committee.


                       Some of Baker Donelson’s professionals, in connection with their current
                        employment, or before joining Baker Donelson, may have been engaged in
                        cases, proceedings, and transactions involving, or were colleagues of,
                        certain professionals, some of whom may have represented claimants and
                        parties in interest in the Debtor’s case.


                       A formal conflict check is in process.



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                                                                                                                MONARCH PLAZA
                                                                                                                SUITE 1500
                                                                                                                3414 PEACHTREE ROAD N.E.
                                                                                                                ATLANTA, GEORGIA 30326


                                                                                                                PHONE:   404.577.6000
                                                                                                                FAX:     404.221.6501

       KATHLEEN G. FURR
       Direct Dial: (404) 221-6533                                                                              www.bakerdonelson.com
       Direct Fax: (404) 238-9787
       E-Mail Address: kfurr@bakerdonelson.com


                                                                 June 1, 2022

        VIA EMAIL ONLY

        Official Committee of Unsecured Creditors of
        Atlanta Light Bulbs, Inc.
        c/o Chris Chickanosky, Chairman
        2940 Pacific Dr.
        Norcross, GA 30071
        cchickansky@halcolighting.com

                 Re:       In re Atlanta Light Bulbs, Inc. – Confirmation of Committee Engagement

        Dear Chris and Committee Members:

              This letter will confirm the terms and conditions on which Baker, Donelson, Bearman, Caldwell &
        Berkowitz, PC (the “Firm”) will undertake to represent the Official Committee of Unsecured Creditors (the
        “Committee”) appointed in the Chapter 11 bankruptcy case of Atlanta Light Bulbs, Inc. having case number
        22-52950-pmb and pending in the United States Bankruptcy Court for the Northern District of Georgia (the
        “Bankruptcy Court”).

                 The Firm is being retained solely as co-counsel for the Committee and our representation pursuant
        to the terms of this letter does not encompass the representation of any other individual or any other entity,
        including the individual members of the Committee.

               All fees and expenses incurred by the Firm will be subject to Bankruptcy Court approval, and shall
        be governed by the United States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the Local
        Rules of the Bankruptcy Court, and any orders entered by the Bankruptcy Court in these cases.

               I will be the partner in charge of this matter with assistance from other partners, counsel, associates,
        law clerks and paraprofessionals at the Firm as may be appropriate.

               With respect to all matters, the Firm will bill its time on an hourly basis in tenth-of-an-hour
        increments at standard billing rates in effect at the time that services are rendered. My current rate is $545
        per hour. Rates may adjust on a yearly basis.

               In addition, the Firm’s invoices will include charges for services and costs which law firms
        customarily charge in addition to fees for legal services, and which will also be subject to Bankruptcy Court
        approval. These costs include travel expenses (including mileage, parking, airfare, lodging, meals and
        ground transportation), messenger and delivery services, filing fees and similar expenses for services
        rendered by third parties. The Firm’s invoices may also include charges for costs and services such as


                                ALABAMA • FLORIDA • GEORGIA • LOUISIANA • MARYLAND • MISSISSIPPI • NORTH CAROLINA •
                                         SOUTH CAROLINA • TENNESSEE • TEXAS • VIRGINIA • WASHINGTON, D.C.
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        computerized legal research. Upon request, we will provide a schedule of the current costs for the various
        services.

                The Firm understands that its retention, and the allowance and payment of its fees and expenses, are
        subject to relevant provisions of the Bankruptcy Code and the Bankruptcy Rules, as well as orders of the
        Bankruptcy Court. The Firm further understands that it may look only to the Debtor’s bankruptcy estate –
        and not to the Committee or its individual members – for the payment of its fees and expenses.

                In the course of our engagement, we are likely to come into possession of copies or originals of
        documents or other materials belonging to the estate, creditors, and other parties-in-interest. Upon
        conclusion of the Chapter 11 case, you should advise the Firm as to which, if any, of the documents and
        materials in our files should be returned, or alternatively, the Firm may seek guidance from the Court as to
        the disposition of such files. Any documents not destroyed at the conclusion of the case may be retained in
        the Firm’s files for a time and then destroyed in accordance with the document retention program then in
        effect.

                If you have any questions concerning this letter or our representation, please call the undersigned
        at (404)22

                                                                     Sincerely,



                                                                     Kathleen G. Furr
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                                 
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        _____________________

        I confirm the engagement of Baker, Donelson, Bearman, Caldwell & Berkowitz, PC as co-counsel to the
        Committee as set forth herein.




        The Official Committee of Unsecured Creditors of
        Atlanta Light Bulbs, Inc.




        By:
                 Chris Chickanosky

        Its: Chairperson
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                                    EXHIBIT B




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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                    )      CHAPTER 11
                                          )
ATLANTA LIGHT BULBS, INC.,                )      CASE NO.: 22-52950-PMB
                                          )
         Debtor.                          )

     ORDER APPROVING APPLICATION FOR ORDER AUTHORIZING AND
 APPROVING EMPLOYMENT OF BAKER, DONELSON, BEARMAN, CALDWELL &
              BERKOWITZ, P.C. AS CO-COUNSEL FOR THE
         OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
      ATLANTA LIGHT BULBS, INC. NUNC PRO TUNC TO JUNE 10, 2022

         The Official Committee of Unsecured Creditors (“Committee”), having filed an

Application for Order Authorizing and Approving Employment of Baker, Donelson, Bearman,

Caldwell & Berkowitz, P.C. as Co-Counsel for the Official Committee of Unsecured Creditors

of Atlanta Light Bulbs, Inc., Nunc Pro Tunc to June 10, 2022 as co-counsel for the Committee

(the “Application”) [Docket No. 50]; the Court having considered the Application and the
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Declaration of Kathleen G. Furr; it appearing that the Court has jurisdiction over this

proceeding, that this is a core proceeding, that notice of the Application has been given to the

United States Trustee and all parties in interest in this case, and that no further notice is

necessary; that the attorneys are qualified to represent the Committee and that they represent no

interest adverse to the Committee or the estate in the matters upon which they are to be engaged,

and that their employment is necessary and in the best interest of the Committee.

          Accordingly, it is hereby

          ORDERED that, pursuant to 11 U.S.C. § 327 and Federal Rule of Bankruptcy Procedure

2014, the Application is GRANTED and the Committee is authorized to retain Baker, Donelson,

Bearman, Caldwell & Berkowitz, P.C. (“Baker Donelson”) as its Georgia attorneys nunc pro

tunc to June 10, 2022, subject to objection as provided for herein; and it is further

          ORDERED that compensation or reimbursement of expenses will be paid to Baker

Donelson only pursuant to an application filed and approved by this Court pursuant to 11 U.S.C.

§§ 330, 331, Federal Rule of Bankruptcy Procedure 2016, the Local Rules, applicable orders of

this Court, and the guidelines, practices, and customs of the United States Trustee, and it is

further

          ORDERED that any part in interest shall have twenty-one (21) days from service of this

Order to file an objection to the Application and/or relief provided in this Order; and it is further

          ORDERED that if an objection is timely filed, counsel for the Committee will set the

Application and all such objections for hearing pursuant to the Court’s Open Calendar

Procedures; and it is further

          ORDERED that if no objection to this Order is timely filed, this Order shall be a final

Order approving the Application; and it is further




                                                  2
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       ORDERED that Baker Donelson shall, within three (3) days of entry of this Order, cause

a copy of this Order to be served by first class mail, postage prepaid, on all parties served with

the Application, and shall file promptly thereafter a certificate of service confirming such

service.



                                   ### END OF ORDER ###




                                                3
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Prepared and presented by:

 /s/Kathleen G. Furr
Kathleen G. Furr (GA Bar No. 589008)
BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ, PC
3414 Peachtree Road, N.E.
Atlanta, Georgia 30326
(404) 577-6000 (Telephone)
(404) 221-6501 (Facsimile)
kfurr@bakerdonelson.com

[Proposed] Co-Counsel for the Official Committee
of Unsecured Creditors of Atlanta Light Bulbs, Inc.




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